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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON

CHARLOTTE SUMMERS,
Plaintiff,

v. CIVIL ACTION NO.: 2:22-cv-00148
HONORABLE IRENE C. BERGER

WEST VIRGINIA DEPARTMENT OF
HOMELAND SECURITY; WEST
VIRGINIA STATE POLICE and R.
LINDSEY, Trooper West Virginia State
Police,

Defendants.

CERTIFICATE OF SERVICE

| hereby certify that on this 18 day of July, 2022, | electronically filed the foregoing
Certificate of Service for Defendant Trooper R. Lindsey’s First Set of Interrogatories
and Requests for Production of Documents to Plaintiff with the Clerk of the Court using
the CM/ECF system which will send notification of such filing.

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